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IN THE UNITED sTATEs DISTRICT coURT -Fn.sc ev g 00
FoR 'rHE WESTERN DIsTRIcT oF TENNESSEE ; ' ‘
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UNITEI) AUTo GROUP, a Delaware Corp. Cl£:§ b[’§ F‘ '*rr'
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Plaintiffs,
v. No. 04-2802 D/P

ADAM EWING and ANDREW BARBEE,

Defendants.

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ORDER DENYING DEFENDANTS’ MOTION TO DISMISS

 

Defendants, Adam Ewing and Andrew Barbee have filed a motion under Fed. R. Civ. P.
12(b)(6) seeking to dismiss Plaintiff' s breach of contract claim because of the preclusive effect of
orders entered by the Chancery Court of Shelby County. For the reasons stated herein, the Court
finds that the orders issued by the chancery court do not preclude this cause of action, and DENIES
Defendants’ motion. The Couit has jurisdiction under 28 U.S.C. § 1132.

I. FACTS

This is one of three cases involving United Auto Group (“UAG”), Adam Ewing, and Andrew
Barbee. The Defendants, Adam Ewing and Andrew Barbee, are former employees of Covington
Pike Toyota, a car dealership located in Memphis, Tennessee and owned by UAG. In 2001, Mr.
Ewing and Mr. Barbee, among others, brought an employment discrimination action in this court
against UAG. Alexander v. United Auto Groun` No. 01 -2096 (W.D. Tenn. filed Feb., 5 2001). The
action was resolved through a confidential settlement agreement signed in 2001. The relevant

portion of the agreement states, “[N]o Party shall make any statement, verbally or in writing, take

    
 

an action or do anything to harm, reduce or prejudice [the o er reputation or goodwill.”

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Alexander, Settlement Agreement 2001.
Two years later, the Defendants served as “expert witnesses” adverse to UAG in a consumer

fraud class action. J ames v. United Auto Group, No. 01 »l 122-l (Shelby Co. Chancery Ct.). Dnring

 

the course of the J ames proceedings, the chancery court issued a protective order on April 24, 2003,
which states in pertinent part:

Notwithstanding any prior agreement between the Defendants and potential
witnesses in this matter, the Defendants, directly or indirectly, may not
retaliate, intimidate, or take any adverse action against any person who offers
to provide or provides information, facts, or data about this lawsuit or facts
or data that may relate to it or else testifies or offers to testify about them.
This lnterim Order covers the period from April l l, 2003 to and through the
completion of the hearing presently set for May 7, 2003 and nothing in this
Order effects the parties’ rights as they may have existed prior to April ll,
2003.

James, Order of` Ch. Ct. of Shelby County Apri124, 2003. After participating in the James

 

 

case, Mr. Ewing and Mr. Barbee appeared on the national television program 60 Minutes in April
2004. While on 60 Mz'nutes, the Defendants answered questions regarding their interactions with
consumers While they Were employees of UAG. ln October 2004, UAG filed a complaint alleging
that the Defendants breached the confidential settlement agreement by publicly disparaging UAG
on 60 Minutes, and for their participation in the Jam_es case, exclusive of the time protected by the
chancery court’s order. On March 24, 2005, after a hearing on motion of the Def`endant, the
chancery court entered an order stating:
It was and is the Court’s intention to protect witnesses at all times that this matter is
and was before the Court. Accordingly, the Court hereby ORDERS that the period
specified in its Apri123, 2003 [order] is expanded to cover the entire period of this
litigation.
M, Order of Ch. Ct. of Shelby County Disposing of Pl.’s Mot. to Clarify or Stay May 22, 2003.
II. MOTION TO DISMISS

The Defendants have moved to dismiss Plaintiff’s complaint alleging that the chancery

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court orders of April 24, 2003 and March 24, 2005 preclude any judgement against the
Defendants for their actions in the JLn_e_s, case. A party may bring a motion to dismiss for failure
to state a claim upon which relief can be granted under Fed. R. Civ. P. 12(b)(6). This motion only
tests whether the plaintiff has pleaded a cognizable claim. Scheid v. Fanny Farmer Candy Shops,
lig, 859 F.2d 434, 436 (6th Cir. 1988). Essentially, it allows the court to dismiss meritless cases
which would otherwise waste judicial resources and result in unnecessary discovery. w, §g,
Nietzke v. Williams, 490 U.S. 319, 326-27 (1989).

The Supreme Court has held that “a complaint should not be dismissed for failure to state
a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his
claim Which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957); B alj

Nietzke, 490 U.S. at 326-27; Lewis v. ACB Bus. Serv. Inc., 135 F.3d 389, 405 (6th Cir. 1997).

 

 

Thus, the standard to be applied when evaluating a motion to dismiss for failure to state a claim
is very liberal in favor of the party opposing the motion. Westlake v. Lucas, 537 F.2d 857, 858
(6th Cir. 197 6). Thus, even if the plaintiff"s chances of success are remote or unlikely, a motion
to dismiss should be denied.

To determine Whether a motion to dismiss should be granted, the court must first examine
the complaint The complaint must contain “a short and plain statement of the claim showing that
the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). The complaint must provide the defendant
with “fair notice of what the plaintiffs claim is and the grounds upon which it rests.” M,
355 U.S. at 47; Westlake, 537 F.2d at 858. The plaintiff, however, has an obligation to allege

the essential material facts of the case. Scheid, 859 F.2d at 436-37.

 

In reviewing the complaint, the court must accept as true all factual allegations in the
complaint and construe them in the light most favorable to the plaintiff Wiridsor v. The

Tennessean, 719 F.2d 155, 158 (6th Cir. 1983). Indeed, the facts as alleged by the plaintiff cannot

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be disbelieved by the court. M, 490 U.S. at 327; Murphv V. Sof`amor Danek Groun. Inc..
123 F.3d 394, 400 (6th Cir. 1997). Where there are conflicting interpretations of the facts, they
must be construed in the plaintist favor. Sinay v. Lamson & Sessions Co., 948 F.2d 1037,
1039-40 (6th Cir. 1991). However, legal conclusions or unwarranted factual inferences should

not be accepted as true. Lewis,135 F.3d at 405-06.

 

III. ANALYSIS

The Full Faith and Credit Act mandates that “the judicial proceedings of any . . . State
. . . shall have the full faith and credit in every court within the United States . . . as they have by
law or usage in the courts of such State . . . from which they are taken.” 28 U.S.C. § 1738. The
Supreme Court has interpreted the Act as requiring that “a federal court must give to a state court
judgement the same preclusive effect as would be given that judgement under the law of the State
in which the judgement Was rendered.” Mig;a v. Warren Sch. Dist. Bd. of Educ., 465 U.S. 75,
81 (1984).

The Defendants argue that despite being entered two years after the original order,
chancery court’s second extension order is effective because a court possesses “inherent power
and authority to protect its processes ever after a matter is no longer before it.” Def.’s Mem.
Supp. Mot. to Dismiss at 2. However, Defendant fails to address the threshold issue of whether
either of the orders preclude this Court from addressing UAG’s breach of contract claims. In
Tennessee, the doctrine of issue preclusion bars “parties or their privies from relitigating issues
of fact or law which were actually and necessarily determined in a former action between them.”
Ostheimer v. Ostheimer, 2004 WL 689881 (Tenn. Ct. App. 2004).

In this case, the Defendants cannot show that they were “parties or their privies” in the
Jam_es litigation. The Defendants were expert witnesses in the w case. The Defendants had

no interest in the outcome of the trial. Neither do the protective orders name them as parties. The

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interim orders were entered to allow J ames plaintiffs the benefit of expert testimony. Because

 

the Defendants have not shown that they are parties to the J ames case or to the orders issued

 

pursuant to the J ames case, the orders do not preclude the Plaintiff’s claim.

 

Nor can the Defendants show that their actions in the J ames case were “actually litigated”

 

and “necessary” to the determination of the case. In M, the chancery court was solely
concerned with whether the Defendants would serve as witnesses in the consumer fraud case, not
whether serving as witnesses was a breach of their confidential settlement agreement. On May
22, 2003, The chancellor specifically stated, “It appears to the Court that any recourse [UAG] may
have against Mr. Barbee and Mr. Ewing are not part of this proceeding . . . .” M, Order of
Ch. Ct. of Shelby County Den. Defs. Renewed. Mot. May 22, 2003. On a later occasion,
chancery court again stated, “[O]n the contract involving Mr. Barbee and Mr. Ewing, that issue
was not really before the Court. . . . The Court did indicate that it was not dealing With an
interpretation necessarily of any liability that Barbee and Ewing might have in some subsequent
litigation.” Jam_es, Tt. of Proceedings Feb. 11, 2005.

Therefore, because Defendants have failed to show that they were “parties or their privies”
under the original action and also because they have failed to show that breach of the confidential
settlement agreement was “actually litigated,” under Tennessee law, the Full Faith and Credit Act
does not require this Court to apply the issue preclusion doctrine to bar Plaintff"s claims.

Moreover, although the Defendants argue that the Rooker-Feldman doctrine bars
Plaintiff’s case because federal district courts are empowered to exercise only original, not
appellate, jurisdiction, this Court is nof reviewing the merits of the chancery court’s orders.

Rooker v. Fid. Trust Co., 263 U.S. 413 (1923). ln Rooker, the Supreme Court affirmed a District

 

Court’s decision not to review the decision of the lndiana Supreme Court on a writ of error.

Although the Plaintiff in this case argues that the extension of chancery court’s original order two

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years after it was entered was an error, Plaintiff does not argue that the orders should be
overturned Plaintiff argues that the chancery court orders do not preclude this claim. Plaintiff’ s
case is not an appeal from a final judgement; it involves an issue explicitly unresolved by
chancery court. The outcome of Plaintiff’s case will not disturb the chancery court’s orders or
preclude any remedy the Defendants may have for any alleged failure to comply with chancery’s
orders in the proper forum.

Finally, the Defendants assert that the “Plaintiff’ s action should be dismissed pursuant to
the “clean hands doctrine” because this claim represents an “unsavory attempt to punish and
retaliate against Messrs. Ewing and Barbee for disclosing what the chancery court has
characterized as “consumer fraud.”’ Def.’s Mem. Supp. Mot. to Dismiss at 4. Under the clean
hands docuine, a plaintist claim will be dismissed if it grows out of, depends upon, or is
inseparany connected with a prior fraud committed by the plaintiff Continental Bankers Life
Ins. Co. v. Simmons, 561 S.W.2d 460 (Tenn. Ct. App. 1977). This case is not significantly
linked with Plaintiff" s prior consumer f`raud. The Plaintiff’ s consumer fraud was not committed
against the Defendants, in fact on 60 Minutes the Defendants stated that they were willing
participants in at least one of Plaintist schemes. The Defendants served as witnesses, not as

victims of the J ames fraud. Also, whether the Plaintiffs committed consumer fraud is in no way

 

relevant in determining whether the Defendants breached the confidential settlement agreement

by serving as paid expert witnesses in the J ames case, or by appearing on 60 Minutes. Therefore,

 

it cannot be inseparable or dependent on the J ames consumer fraud.

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IV. CONCLUSION

Because the Defendants have failed to show that this Court is precluded from hearing this
case under the Full Faith and Credit Act or the Rooker-Feldrnan Doctrine, and because the
“unclean-hands” doctrine is inapplicable to this case, the Court finds that Defendants have not

demonstrated cause for relief. Accordingly, Defendants’ Motion to Dismiss is denied.

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IT Is so 0RDERED this 223 day ofAugust 2005.

 

UNITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 92 in
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Honorable Bernice Donald
US DISTRICT COURT

